                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 L.W. et al.,                                    )
 by and through her parents and next             )
 friends, Samantha Williams and Brian            )
 Williams                                        )               NO. 3:23-cv-00376
                                                 )            JUDGE RICHARDSON
      Plaintiffs,                                )
                                                 )
 v.                                              )
                                                 )
 JONATHAN SKRMETTI et al.,                       )

      Defendants.

                    ORDER ON MOTION FOR PRELIMINARY INJUNCTION

        Pending before the Court is Plaintiffs’ Motion for a Preliminary Injunction (Doc. No. 21,

“Motion”). As set forth herein, and for the reasons set forth in the accompanying Memorandum

Opinion, the Motion is GRANTED IN PART AND DENIED IN PART.

        Via the Motion, Plaintiffs ask this Court to issue a preliminary injunction enjoining the

State of Tennessee from enforcing most of the provisions of Senate Bill 1 (hereinafter “SB1” or

“the law”), codified at Tenn. Code Ann. 68-33-101 et seq. Plaintiffs do not seek a preliminary

injunction as to the private right of action contained in SB1 and codified at Tenn. Code Ann. § 68-

33-105. This order therefore does not affect the enforcement of the private right of action.

        Furthermore, SB1 defines “medical procedure” as including “surgically removing,

modifying, altering, or entering into tissues, cavities, or organs of a human being[.]” Tenn. Code

Ann. § 68-33-102(5)(A). For the reasons set forth in the Court’s accompanying Memorandum

Opinion, Plaintiffs do not have standing to seek a preliminary injunction against SB1 to the extent

that it prevents minors from receiving the surgeries that, by virtue of Tenn. Code Ann. § 68-33-

102(5)(A), constitute “medical procedure[s]” that are banned under certain circumstances by Tenn.




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Code Ann. § 68-33-103(a). This order therefore does not affect the enforcement of SB1 as to any

such surgeries.

       On the other hand, based on the Motion, pleadings, testimony, exhibits, affidavits, briefs,

representations of counsel and the entire record, the Court finds:

       (1) Plaintiffs have demonstrated a strong or substantial likelihood of success on the merits

           of both their Fourteenth Amendment Due Process claim and their Fourteenth

           Amendment Equal Protection claim;

       (2) Plaintiffs have demonstrated that they likely would suffer immediate and irreparable

           injury, harm, loss, or damage if injunctive relief is not granted pending trial;

       (3) the balance of relative harms among the parties weighs in favor of Plaintiffs and against

           Defendants; and

       (4) the public interest will not be harmed by injunctive relief pending trial.

       It is, therefore, ORDERED that, pursuant to Federal Rule of Civil Procedure 65,

Defendants and their officers, agents, employees, servants, attorneys, and all persons in active

concert or participation with them are hereby enjoined and restrained from enforcing all provisions

of SB1 subject to the exceptions set forth by the Court above. Because this case involves

“constitutional issues affecting the public[,]” the Court finds it unnecessary to require Plaintiffs to

post security as a condition of obtaining injunctive relief. See Stand Up Am. Now v. City of

Dearborn, No. 12-11471, 2012 WL 1145075, at *1 (E.D. Mich. Apr. 5, 2012). Therefore, Plaintiffs

are excused from doing so.

       This preliminary injunction is effective upon its issuance.

       This case is referred to the assigned Magistrate Judge for further customized case

management.




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   IT IS SO ORDERED.


                                       ________________________________
                                       ELI RICHARDSON
                                       UNITED STATES DISTRICT JUDGE




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